 

Case 1:20-cv-06673-GBD Document 41 Filed 1Q@4L9/ ee a 1 of 1

    

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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STEVE UREVITH, :
Plaintiff, :
ORDER

-against- :

20 Civ. 6673 (GBD)
CR BARD INC et al., :
Defendants. :
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GEORGE B. DANIELS, United States District Judge:

The parties’ request for a 90-day stay of the above-captioned action is GRANTED. The
initial conference is adjourned from January 27, 2021 to April 28, 2021 at 9:30 am.
Dated: New York, New York

October 19, 2020
SO ORDERED.

Dp, Ash , B Daw

GEPR GER. SANIELS
ed States District Judge

 
